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 6   DAPHNIE JORDAN
 7                              UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA
 9
                                             Case No.:
     DAPHNIE JORDAN
10
                                             COMPLAINT FOR DAMAGES
            Plaintiff,
11
     vs.                                      1. EQUAL PAY ACT (FLSA) –
12                                               PAY RATE DISCRIMINATION
     NOR-CAL PIPELINE SERVICES                   29 USC § 206(d)
13
            Defendants.                       2. CALIFORNIA EQUAL PAY ACT –
14
                                                 PAY RATE DISCRIMINATION
15                                               Cal. Labor Code § 1197.5

16                                            3. EQUAL PAY ACT (FLSA) –
                                                 RETALIATION
17                                               29 USC § 206(d)
18
                                              4. CALIFORNIA EQUAL PAY ACT –
19                                               RETALIATION
                                                 Cal. Labor Code § 1197.5
20
                                              5. CALIFORNIA FAIR EMPLOYMENT
21                                               AND HOUSING ACT – DISPARATE
22                                               IMPACT/EQUAL PAY
                                                 Cal. Gov. Code § 12940(a)
23
                                              6. CALIFORNIA FAIR EMPLOYMENT
24                                               AND HOUSING ACT – RETALIATION
                                                 Cal. Gov. Code § 12940(h)
25

26                                            7. WRONGFUL TERMINATION IN
                                                 VIOLATION OF PUBLIC POLICY
27
                                             JURY TRIAL DEMANDED
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                                              1
                                   COMPLAINT FOR DAMAGES
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 1   Comes now Plaintiff DAPHNIE JORDAN, who alleges and complains as follows on
 2   information and belief, and who prays for relief from the court.
 3                                              SUMMARY
 4   1.     Plaintiff Daphnie Jordan worked for Defendant as a certified payroll specialist. Ms.
 5          Jordan is Black and female. At all times, she was paid less than a man and non-black
 6          women doing substantially similar work. Plaintiff brings one set of claims under the US
 7          Equal Pay Act (incorporated into FLSA) and California Equal Pay Act for pay rate
 8          discrimination. Plaintiff brings a second set of claims for retaliation because Defendant
 9          terminated her employment after she continued to seek a raise to a fair market rate.
10          Neither the federal or state statute requires proof of racial or sex animus.
11   2.     Plaintiff seeks unpaid wages, liquidated damages of an equal amount, attorney’s fees per
12          statute, and costs of litigation.
13                                               PARTIES
14   3.     Plaintiff Daphnie Jordan (hereafter “PLAINTIFF”) is an adult individual residing in
15          Texas. PLAINTIFF was at all relevant times employed by Defendant NOR-CAL
16          PIPELINE SERVICES in California.
17   4.     Defendant NOR-CAL PIPELINE SERVICES (hereafter “DEFENDANT”) is a private
18          business and employer with its principal place of business in California. Defendant is
19          organized as a California Corporation.
20                 JURISDICTION, VENUE & ADMINISTRATIVE REMEDIES
21   5.     The Court has federal question subject matter jurisdiction over this dispute because
22          Plaintiff alleges violations of the Equal Pay Act, incorporated within the Fair Labor
23          Standards Act, 29 USC §201, et seq. See especially, 29 USC §§ 206(d), 216.
24   6.     The Court has supplemental subject matter jurisdiction over this dispute because the
25          allegations of the state law claims substantially overlap and are intertwined with the
26          same series of events, transactions, and course of employment at issue in the federal
27          claims. 28 U.S. Code § 1367.
28
                                                  2
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 1   7.     The acts and omissions at issue in this pleading occurred within Yolo County.

 2   8.     At the time of the events and omissions giving rise to this pleading, DEFENDANT’S

 3          headquarters were located within Yolo County in California. They are now located

 4          within Placer County in California.

 5   9.     As to state law claims PLAINTIFF exhausted all applicable administrative remedies and

 6          obtained a right to sue letter pursuant the California Fair Employment and Housing Act,

 7          and served that letter by timely depositing it with the U.S. Post Office via certified mail

 8          prior to filing this Complaint.

 9   10.    PLAINTIFF’S signed consent to file FLSA matter is included as an attachment to this

10          Complaint.

11                             GENERAL FACTUAL ALLEGATIONS

12   Particulars of Employment

13   11.    PLAINTIFF is and was at all relevant times Black and female.

14   12.    PLAINTIFF at all relevant times worked for DEFENDANT as a payroll specialist.

15   13.    PLAINTIFF’S work duties for DEFENDANT included and centered around processing

16          payroll for employees.

17   14.    In addition to handling regular payroll duties, PLAINTIFF also processed certified

18          payroll for DEFENDANT. Certified payroll duties included certain reporting of payroll

19          data for union and public works compliance.

20   15.    Providing certified payroll services is an additional and higher-level duty than providing

21          only payroll services.

22   16.    Other employees employed by DEFENDANT at the same time PLAINTIFF worked for

23          DEFENDANT also performed payroll services. Not all such employees performed the

24          additional work of certified payroll.

25   17.    Throughout the time that PLAINTIFF worked for DEFENDANT, PLAINTIFF was the

26          lowest paid employee performing substantially similar work in payroll.

27   18.    At and around the time of PLAINTIFF’S employment by DEFENDANT,

28          DEFENDANT employed at least the following persons, identified here only by first
                                                 3
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 1          name, in jobs that were substantially similar to PLAINTIFF’S position, each of whom

 2          was paid more than PLAINTIFF:

 3             a. “Frank,” a male.

 4             b. “Maria,” a female who is not Black.

 5             c. “Teresa,” a female who is not Black.

 6             d. “Melissa,” a female who is not Black. (Melissa was promoted after being

 7                  initially hired for payroll, and this Complaint addresses only her compensation

 8                  rate while working as a payroll clerk.)

 9   19.    The above positions required substantially equal skill, efforts, and responsibility to

10          perform in comparison to PLAINTIFF’S work, and share a common core of tasks with

11          PLAINTIFF’S work in that, among other things, all the positions were essentially those

12          of a payroll clerk. To the degree certified payroll work justified a higher wage,

13          PLAINTIFF performed such work but was still the lowest paid.

14   20.    PLAINTIFF was terminated shortly after she sought a raise in pay.

15   21.    DEFENDANT advertised for a replacement employee to perform the work PLAINTIFF

16          performed. The advertisement offered to pay more than DEFENDANT had been paid.

17   22.    DEFENDANT hired a replacement employee to perform the work PLAINTIFF

18          performed. The replacement employee was paid more than DEFENDANT had been

19          paid.

20   23.    The person DEFENDANT hired to replace PLAINTIFF was not a Black woman.

21   24.    PLAINTIFF first started working for DEFENDANT on or about June 26, 2019.

22   25.    PLAINTIFF last worked for DEFENDANT on or about June 29, 2020.

23   26.    PLAINTIFF’S rate of pay was set or adjusted by DEFENDANT on or about each of the

24          following dates:

25             a. June 26, 2019

26             b. July 28, 2019

27             c. October 27, 2019

28             d. January 13, 2020
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                                     COMPLAINT FOR DAMAGES
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 1   27.      As to each adjustment of pay above, PLAINTIFF continued to be the lowest-paid

 2            employee who performed the subject work (as pled herein) for DEFENDANT, and her

 3            status as the lowest-paid such employee continued through to her final paycheck.

 4   Allegations Concerning Willfulness

 5         28. The U.S. Equal Pay Act and California Equal Pay Act both provide for an additional

 6            year of claims under the respective statutes of limitations where an employer’s violation

 7            of the statute is “willful.” Willful conduct includes violation of the relevant statute when

 8            “the employer either knew or showed reckless disregard for the matter of whether its

 9            conduct was prohibited.” McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133.

10   29.      DEFENDANT knew it was not compliant with the Equal Pay Act or alternatively

11            showed reckless disregard for compliance with the U.S. and California Equal Pay Acts,

12            as demonstrated by, among other things:

13                a. At points in PLAINTIFF’S Employment, DEFENDANT paid PLAINTIFF less

14                   than it paid the receptionist, who held an entry-level position.

15                b. Despite providing for raises to PLAINTIFF at points during her employment,

16                   DEFENDANT failed to ever bring her to parity with the wages paid to

17                   employees doing substantially similar work.

18                c. A human resources manager employed by DEFENDANT raised the fact that

19                   PLAINTIFF was underpaid with senior management in writing, compared

20                   PLAINTIFF’S pay to the rate of pay of similar employees, and requested

21                   PLAINTIFF receive a raise. The human resources manager was terminated

22                   shortly thereafter. PLAINTIFF was given a raise, but still to an amount below

23                   that paid to employees doing substantially similar work.

24                d. When PLAINTIFF continued to raise the issue of her underpayment, she was

25                   told by her immediate supervisor that she would receive the raise, but was then

26                   terminated on pretext.

27                e. After terminating PLAINTIFF, DEFENDANT hired a person who was not a

28                   Black woman to replace PLAINTIFF, and paid that person more than
                                                  5
                                       COMPLAINT FOR DAMAGES
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 1                  DEFENDANT had ever paid PLAINTIFF.

 2              f. DEFENDANT maintained a workplace that had concerning racial language

 3                  suggestive of actual or implicit bias in the workplace. This included, but was not

 4                  necessarily limited to:

 5                      i. A statement by a supervisor that “Black babies smell funny.”

 6                     ii. A statement by a supervisor that “it must be hard” for White parents of

 7                         biracial/Black children.

 8                     iii. A statement by an experienced sales/account professional that a White

 9                         employee must like sex with Black men because of her anatomical shape.

10                     iv. A statement by a supervisor to a White employee that the employee

11                         should have “warned” the supervisor that another employee had a

12                         biracial/Black child so the supervisor could be careful about saying

13                         negative things about Black people around the parent.

14              g. DEFENDANT generally failed to comply with mandatory sexual harassment

15                  training schedules until they were insisted upon by the above-referenced human

16                  resources manager whom DEFENDANT terminated.

17              h. DEFENDANT operates and all relevant times operated a business involved in

18                  public works and union services and employed a large workforce in a regulated

19                  environment such that DEFENDANT’S managing authorities had operational

20                  knowledge that discrimination was not permissible and that anti-discrimination

21                  policies were required. Yet, DEFENDANT failed to take appropriate action to

22                  minimize racial or sexual bias in its operations, to investigate the potential for

23                  such bias, or correct it as to PLAINTIFF when expressly made aware of it.

24   Statute of Limitations; Tolling; Effective Claims Periods

25   30.    Claims in this matter are subject to the following statutes of limitation:

26              a. U.S. Equal Pay Act – Two years, measured from each occurrence of unequal pay

27                  based on sex. Extended to three years for willful conduct. See, 29 USCA § 255;

28                  Ledbetter v. Goodyear Tire & Rubber Co., 550 U.S. 618, 640 (2007).
                                                 6
                                      COMPLAINT FOR DAMAGES
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 1            b. California Equal Pay Act – Two years, measured from each occurrence of

 2                unequal pay based on sex or race. Extended to three years for willful conduct.

 3                See, Cal. Labor Code § 1197.5 at (a),(b),(i).

 4            c. California Fair Employment and Housing Act – Three years prior to the initiating

 5                administrative relief with the Department of Fair Employment and Housing, and

 6                one year thereafter. See, Cal. Gov. Code 12960.

 7                    i. In this matter, Plaintiff requested and received a right to sue letter from

 8                       the Department of Fair Employment and Housing on June 23, 2021.

 9   31. As to state law claims asserted herein, all applicable statute of limitations periods are

10      tolled from April 6, 2020 to October 1, 2020 (178 days) pursuant to state law providing

11      pandemic-related tolling as reflected in California Emergency Rule of Court No. 9.

12      Such tolling is substantive law for the purposes of Erie analysis. See, e.g., Gianelli v.

13      Schoenfeld, No. 221CV00477JAMKJNPS, 2021 WL 4690724, at *19 (E.D. Cal. Oct. 7,

14      2021), report and recommendation adopted, No. 221CV0477JAMKJNPS, 2021 WL

15      5154163 (E.D. Cal. Nov. 5, 2021) [opinion by Magistrate Judge Newman, CAED];

16      Carlson v. Colorado Ctr. for Reprod. Med., LLC, No. 21-CV-06133-MMC, 2021 WL

17      5494273, at *3 (N.D. Cal. Nov. 23, 2021); Palacios v. Interstate Hotels & Resorts Inc.,

18      No. 21-CV-05799-TSH, 2021 WL 4061730, at *3 (N.D. Cal. Sept. 7, 2021); Malaivanh

19      v Humphreys College, Case 2:16-cv-01081-KJM-GG (CAED), ECF No. 47 Filed

20      08/16/17 [Judge Mueller notes Erie analysis leads to application of state law statutes of

21      limitation for state law claims under both diversity and supplemental jurisdiction.]

22   32. The relevant claims period for PLAINTIFF in this matter, factoring in statutes of

23      limitation, tolling, and dates of employment, are:

24        Count      Claim                     Limitations Period       Applicable Claims Period

25        1          U.S. Equal Pay – Pay      2 years for any          3/23/2020 – 6/26/2020

26                   Rate Discrimination       discrimination

27                                             3 years for willful

28                                             discrimination:          6/26/2019 – 6/29/2020
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 1     Count   Claim                Limitations Period      Applicable Claims Period

 2     2       Cal. Labor Code –    2 years for any         9/27/2019 – 6/26/2020

 3             Pay Rate             discrimination

 4             Discrimination       3 years for willful

 5                                  discrimination:         6/26/2019 – 6/29/2020

 6     3       U.S. Equal Pay –     2 years for any         3/23/2020 – 6/26/2020
 7             Retaliation          discrimination
 8                                  3 years for willful
 9                                  discrimination:         6/26/2019 – 6/29/2020
10
       4       Cal. Labor Code –    `2 years for any        9/27/2019 – 6/26/2020
11
               Retaliation          discrimination
12
                                    3 years for willful
13
                                    discrimination:         6/26/2019 – 6/29/2020
14
       5       FEHA – Disparate     3 years before          6/26/2019 – 6/29/2020
15
               Impact               DEFH right to sue
16
               Discrimination /     letter
17
               Equal Pay
18
       6       FEHA – Retaliation   3 years before          6/26/2019 – 6/29/2020
19
                                    DEFH right to sue
20
                                    letter
21

22     7       Wrongful             2 years before          9/27/2019 – 6/26/2020

23             Termination, Tort    termination.

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 1                                              FIRST COUNT

 2            VIOLATION OF EQUAL PAY ACT / FAIR LABOR STANDARDS ACT –

 3                                    PAY RATE DISCRIMINATION

 4                                              29 USC § 206(d)

 5                            (BY PLAINTIFF AGAINST DEFENDANT)

 6   33.    All prior paragraphs of this Complaint are incorporated by reference, as though fully set

 7          forth herein.

 8   34.    DEFENDANT at all relevant times was employer subject to the Fair Labor Standards

 9          Act and Equal Pay Act, including but not limited to 29 USC § 206.

10   35.    PLAINTIFF was at all relevant times DEFENDANT’S employee.

11   36.    As alleged herein, DEFENDANT pays different wages to employees of different sexes

12          for substantially equal work. This includes paying PLAINTIFF less than the male(s)

13          employed by DEFENDANT in payroll positions doing substantially similar work to that

14          performed by PLAINTIFF.

15   37.    Such conduct by DEFENDANT was willful.

16   38.    The difference between wages paid to PLAINTIFF and to male employees for

17          substantially equal work reflects unpaid minimum wages, and as applicable unpaid

18          overtime wages. See, 29 USC 206(d)(3).

19   39.    As a direct and proximate result, PLAINTIFF suffered injury and attendant damages

20          including but not limited to loss of wages.

21   40.    PLAINTIFF seeks all relief available under the Equal Pay Act, including unpaid

22          minimum and overtime wages, liquidated damages in an amount equal to such wages,

23          attorney’s fees, and costs of litigation.

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 1                                              SECOND COUNT

 2                           VIOLATION OF CALIFORNIA EQUAL PAY ACT –

 3                                      PAY RATE DISCRIMINATION

 4                                          Cal. Labor Code § 1197.5

 5                                                  CACI 2740

 6                           (BY PLAINTIFF and AGAINST DEFENDANT)

 7   41.     All prior paragraphs of this Complaint are incorporated by reference, as though fully set

 8           forth herein.

 9   42.     At all times relevant to this Complaint, PLAINTIFF was employed by DEFENDANT

10           and was paid less than the rate paid to one or more persons of a different sex, race,

11           and/or ethnicity, as alleged herein.

12   43.     At all times relevant to this Complaint, PLAINTIFF was performing substantially

13           similar work as the other persons, as alleged herein, considering the overall combination

14           of skill, effort, and responsibility required.

15   44.     At all times relevant to this Complaint, PLAINTIFF was working under similar working

16           conditions as the other persons, as alleged herein.

17   45.     As a direct and proximate result, PLAINTIFF suffered injury and attendant damages.

18   46.     PLAINTIFF seeks all relief available under the California Equal Pay Act, including

19           unpaid minimum and overtime wages, interest on such wages, and liquidated damages in

20           an amount equal to such wages and interest, attorney’s fees, and costs of litigation.

21                                               THIRD COUNT

22             VIOLATION OF EQUAL PAY ACT / FAIR LABOR STANDARDS ACT -

23                                               RETALIATION

24                                                  29 USC § 215

25                           (BY PLAINTIFF and AGAINST DEFENDANT)

26   47.     All prior paragraphs of this Complaint are incorporated by reference, as though fully set

27           forth herein.

28   48.     DEFENDANT at all relevant times was employer subject to the Equal Pay Act and Fair
                                                 10
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 1            Labor Standards Act, including but not limited to 29 USC § 215.

 2   49.      PLAINTIFF complained to DEFENDANT of equal pay violations by asking for raises

 3            to be paid in accordance with market rates, as alleged herein, during the course of her

 4            employment by DEFENDANT.

 5   50.      Defendant discharged PLAINTIFF as alleged herein because of such complaints.

 6   51.      As a direct and proximate result, PLAINTIFF suffered injury and attendant damages.

 7   52.      PLAINTIFF is entitled “such legal or equitable relief as may be appropriate to effectuate

 8            the purposes of section 215(a)(3) of [FLSA/EPA], including without limitation

 9            employment, reinstatement, promotion, and the payment of wages lost and an additional

10            equal amount as liquidated damages” as well as attorney’s fees and costs necessary for

11            the collection of same. See, 29 USC §216(b).

12                                             FOURTH COUNT

13                            VIOLATION OF CALIFORNIA EQUAL PAY ACT –

14                                              RETALIATION

15                                         Cal. Labor Code § 1197.5

16                                                 CACI 2743

17                            (BY PLAINTIFF and AGAINST DEFENDANT)

18   53.      All prior paragraphs of this Complaint are incorporated by reference, as though fully set

19            forth herein.

20   54.      As alleged herein, PLAINTIFF requested to be paid the market rate for her employment

21            with DEFENDANT, and a human resources manager employed by DEFENDANT

22            notified DEFENDANT’S managing agents in writing that DEFENDANT was not being

23            paid equitably when compared to similar employees, none of whom were Black women.

24   55.      DEFENDANT discharged PLAINTIFF.

25   56.      PLAINTIFF’S pursuit of equal pay was a substantial motivating reason for

26            DEFENDANT’S decision to terminate her employment.

27   57.      As a direct and proximate result, PLAINTIFF suffered injury and attendant damages.

28         58. PLAINTIFF is entitled to receive “the balance of the wages, including interest thereon,
                                                 11
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 1           and an equal amount as liquidated damages, together with the costs of the suit and

 2           reasonable attorney’s fees, notwithstanding any agreement to work for a lesser wage.”

 3           See, Cal. Labor Code 1197.5(h).

 4                                              FIFTH COUNT

 5          VIOLATION OF CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT –

 6                                 DISPARATE IMPACT/EQUAL PAY

 7                                        Cal. Gov. Code § 12940(a)

 8                                                 CACI 2504

 9                           (BY PLAINTIFF and AGAINST DEFENDANT)

10   59.     All prior paragraphs of this Complaint are incorporated by reference, as though fully set

11           forth herein.

12   60.     At all times relevant to this Complaint, DEFENDANT was an employer regulated by the

13           California Fair Employment and Housing Act in that, among other things,

14           DEFENDANT did business in California, was a California Corporation, and employed

15           more than 5 employees in California.

16   61.     At all relevant times PLAINTIFF was an employee of DEFENDANT as alleged herein.

17   62.     At all relevant times, DEFENDANT had an employment practices that were in violation

18           the the Equal Pay Act and had a disproportional adverse effect on women, Black

19           employees, and Black women employees. Such practices included:

20              a. Setting compensation rates without providing any mechanism to provide parity

21                  in wages between people doing substantially similar work, regardless of sex,

22                  gender, color, race, or ethnicity.

23              b. Setting compensation rates based on past compensation rates that any given

24                  employee had earned in the past, which thereby continued past inequities.

25              c. Supervising and training senior management employees who set compensation

26                  rates as to compensation policy in a way that omitted Equal Pay Act compliance

27                  as a key tenant of the compensation setting policy.

28              d. Supervising and overseeing employee compensation systems without any audits
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 1                  or similar oversight mechanism to detect Equal Pay violations.

 2              e. Failing to appropriately train senior management responsible for compensation

 3                  setting as required by law with respect to harassment and bias.

 4   63.     As a direct and proximate result, PLAINTIFF suffered injury and attendant damages,

 5           including but not limited to underpayment of wages in violation of law.

 6   64.     Plaintiff seeks compensatory damages, attorney’s fees, and costs of litigation.

 7                                             SIXTH COUNT

 8          VIOLATION OF CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT –

 9                                             RETALIATION

10                                        Cal. Gov. Code § 12940(h)

11                                                CACI 2505

12                           (BY PLAINTIFF and AGAINST DEFENDANT)

13   65.     All prior paragraphs of this Complaint are incorporated by reference, as though fully set

14           forth herein.

15   66.     DEFENDANT discharged PLAINTIFF.

16   67.     PLAINTIFF’S request for equal pay at the market rate was a substantial motivating

17           reason for DEFENDANT’S decision to terminate PLAINTIFF.

18   68.     As a direct and proximate result, PLAINTIFF suffered injury and attendant damages.

19   69.     Plaintiff seeks compensatory damages, attorney’s fees, and costs of litigation.

20                                         SEVENTH COUNT

21             WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

22                                              CACI 2403

23                           (BY PLAINTIFF and AGAINST DEFENDANT)

24   70.     All prior paragraphs of this Complaint are incorporated by reference, as though fully set

25           forth herein.

26   71.     DEFENDANT discharged PLAINTIFF from its employ as alleged herein, and such

27           discharge was substantially motivated by PLAINTIFF’S request for equal pay at the

28           market rate.
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 1   72.     This termination violated important public policies reflected in the U.S. and California

 2           Equal Pay Acts and the California Fair Employment and Housing Act as pled herein.

 3   73.     As a direct and proximate result, PLAINTIFF suffered injury and attendant damages.

 4   74.     Plaintiff seeks compensatory damages, attorney’s fees, and costs of litigation.

 5                                        PRAYER FOR RELIEF

 6   WHEREFORE, PLAINTIFF prays for judgment as follows:

 7           1. For unpaid/underpaid wages as pled herein.

 8           2. For liquidated damages as pled herein.

 9           3. For interest on unpaid/underpaid wages as pled herein.

10           4. For compensatory damages as pled herein.

11           5. For attorney’s fees as pled herein.

12           6. For costs of litigation as to all counts.

13           7. For pre-judgment and post-judgment interest as provided by law;

14           8. For such other and further relief as this court deems just and proper so as to provide

15               all available remedies available at law or equity to the benefit of PLAINTIFF.

16           For the purposes of default judgment and due process, and subject to revision upwards

17   or downwards according to proof, PLAINTIFF makes a specific demand per the Federal Rules

18   of Civil Procedure. PLAINTIFF demands $300,000 plus attorney’s fees and costs.

19   Respectfully submitted,

20   Date: March 23, 2022                            CLAYEO C. ARNOLD, APLC

21                                                   By: /s/ Joshua H. Watson
                                                           Joshua H. Watson
22                                                         Attorneys for Plaintiff
23

24                                         DEMAND FOR JURY

25   Plaintiff demands jury trial for all counts and issues subject to trial by jury.

26   Date: March 23, 2022                            CLAYEO C. ARNOLD, APLC

27                                                   By: /s/ Joshua H. Watson
                                                           Joshua H. Watson
28                                                         Attorneys for Plaintiff
                                                 14
                                       COMPLAINT FOR DAMAGES
